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                                     UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF LOUISIANA
                                         ALEXANDRIA DIVISION

   KAYLA J. GILES                                                           CIVIL ACTION NO. 1:19-cv-01173

   VERSUS                                                                   CHIEF JUDGE DEE D. DRELL

   DELTA DEFENSE, L.L.C., and                                               MAGISTRATE JUDGE JOSEPH
   UNITED SPECIALTY INSURANCE COMPANY                                       H.L. PEREZ-MONTES
   Defendants
   ------------------------------------------------------------------------------------------------------------------------

               KAYLA J. GILES’ RESPONSE TO UNITED SPECIALTY INSURANCE
               COMPANY’S STATEMENT OF UNCONTESTED MATERIAL FACTS

            Kayla J. Giles shows that the ‘facts’ asserted in the Statement of Uncontested Material Facts

   submitted by United Specialty Insurance Company are essentially correct. She believes the

   conclusion drawn from them is incorrect.

                                                                   LAW OFFICE OF,

                                                                 /S/ THOMAS R. WILLSON ______
                                                                 THOMAS R. WILLSON
                                                                 1330-C JACKSON STREET
                                                                 ALEXANDRIA, LA 71301
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                                                           Attorney for Kayla J. Giles (#13546)


                                           CERTIFICATE OF SERVICE

          I hereby certify that this document was provided to Counsel for United Specialty
   Insurance Company, Celeste D. Elliott, by deposing the same in the U.S. Mail addressed to 601
   Poydras Street, Suite 2775, New Orleans, La. 70130, with sufficient postage affixed, this 23rd day
   of February, 2022.

                                                           __/S/ THOMAS R. WILLSON_____
                                                              THOMAS R. WILLSON
